       Case 4:22-cr-00115-JFH Document 145 Filed in USDC ND/OK on 01/04/23 Page 1 of 1


                                            UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF OKLAHOMA


 United States of America,
                                                           Plaintiff,       Case No.:     22-cr-00115-JFH-2
 vs.                                                                        Date:         1/4/2023
                                                                            Court Time:   2:04 p.m. to 2:18 p.m.

 Donnie B Pearson,
                                                       Defendant(s).        MINUTE SHEET CHANGE OF PLEA

Donald D. Bush, Magistrate Judge                       C. Butler, Deputy Clerk            FTR CR5

Counsel for Plaintiff:    David Nasar
Counsel for Defendant: Clint James                        , Appt.
Probation Officer:        not present
Age of Defendant:         37                              Interpreter:                                     ☐ sworn
Defendant appears in person: ☒ with Counsel;           ☐ Counsel waived;         ☐ w/o Counsel;            Defendant:   ☒ sworn;
☒ Defendant Consents to Magistrate conducting Guilty Plea Hearing
Defendant’s name as reflected in the Information
         ☒ Verified in open court as the true and correct legal name
☒ Defendant acknowledges receipt of Information
Defendant waives:        ☐ Indictment; ☒ Jury Trial;      ☐ Speedy Trial;          ☒ 30 Days Preparation; ☐ Separate Representation
                         ☒ Waivers approved by Court;
Defendant advised of: ☒ Charge and ☒ Information                                   Information:         ☐ Read ☒ Reading waived
☒ Defendant stipulates to the facts as stated
☒ Petition to enter plea of Guilty sworn and executed
☒ Defendant withdraws not guilty plea(s) as to those Count(s) 1
  of the Information and Defendant enters guilty plea(s) as to those counts
☒ Defendant adjudged guilty as charged as to Count(s) 1
  of the Information
☒ Petition approved in open court                       ☒ Plea Agreement approved in open Court                    ☒ PSI ordered
☒ Remaining Count(s) to be dismissed at sentencing: Original Indictment
☒ SENTENCING to be scheduled upon completion of PSI
☐ Defendant allowed to stand on present bond; ☐ Government stipulates, findings made
☒ Defendant remanded to custody of U.S. Marshal
Additional Minutes:




Change Plea Magistrate Judge                                                                                               (8/2021)
